Case 2:99-cV-02815-.]DB-STA Document 175 Filed 07/05/05 Page 1 of 3 Page|D 265

FI!.ED BY _%_ D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE[]S JU[_ -5 AH 92 55
WESTERN DIVISION

l`rDMAS M.
DANNY L. DEATON, O.ERK U.Sl inlth
vth GF `;’-i signals
Plainriff,
v. No. 99-2815-B/An

CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER DISMISSING MAYOR W. W. HERENTON

 

On June 27, 2005, the Court entered an order granting in part and denying in part Defendant’s
motion in limine and granting Plaintiff’s motion in limine. The Court noted in a footnote that a
negligence claim still remained against the Defendant, Mayor W. W. Herenton, based upon an August
30, 2000 order on a motion to dismiss entered by fenner District Judge Julia S. Gibbons. ln that order,
Judge Gibbons stated that the Defendant had not sought a dismissal of Plaintiff’s negligence claim
against Herenton and therefore that claim had survived.

On October 13, 2000, a stipulation of voluntary dismissal was filed with the Court wherein the
attorneys for the Plaintiff and for Herenton agreed that all of Plaintiff’s state law claims against the
Mayor could be dismissed without prejudice Consequently, it appears that all claims against Mayor
Herenton have been terminated

Accordingly, based upon the stipulation of voluntary dismissal entered on October 13, 2000, all

of Plaintiff’s remaining state law claims against Mayor Herenton are DISMISSED WITHOUT

PREJUDICE.

Thls document entered on the docket sheet in compliance
with eula 53 and/or re(a) FF\oP on '5 "O

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IT IS SO ORDERED this l day of Iuly, 2005.

_/l

J. DANIEL BREEN \
NI D STATES DISTRICT JUDGE

   

UNITE`D STATS,E DISTRICT OURT WESTREDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 175 in
case 2:99-CV-02815 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

